        Case 1:21-cv-06841-PKC                Document 151           Filed 09/23/21      Page 1 of 2



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------- x

IN RE GOOGLE DIGITAL ADVERTISING
                                                                        21-md-03010 (PKC)
ANTITRUST LITIGATION

---------------------------------------------------------

THE STATE OF TEXAS, et al.,

                                    Plaintiffs,                         21-cv-06841 (PKC)

                        -against-
                                                                  MOTION FOR ADMISSION
GOOGLE LLC,                                                       PRO HAC VICE

                                    Defendant.

--------------------------------------------------------- x


        Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, J hereby moves this Court for an Order for admission to practice

Pro Hac Vice to appear as counsel for the State of Texas in the above captioned action.

        I am a member in good standing of the bar of the State of Texas and there are no pending

disciplinary proceedings against me in any state or federal court. I have never been convicted of a

felony. I have never been censured, suspended, disbarred, or denied admission or readmission by

any court. I have attached an affidavit to this effect pursuant to Local Rule 1.3.

Dated: September 23, 2021                                      Respectfully submitted,


                                                              /s/ James R. Lloyd
                                                              JAMES R. LLOYD
                                                              Chief, Antitrust Division
                                                              Office of the Attorney General of Texas
                                                              300 W. 15th Street
                                                              Austin, Texas 78701
                                                              Tel: (512) 936-1873
                                                              James.Lloyd@oag.texas.gov

                                                              Attorney for Plaintiff State of Texas
       Case 1:21-cv-06841-PKC          Document 151         Filed 09/23/21     Page 2 of 2



                                CERTIFICATE OF SERVICE

       I hereby certify that on September 23, 2021, I filed the above pleading using this Court’s

CM/ECF system, which will send electronic notice of this filing to all parties to this matter and/or

their counsel of record.



                                                     /s/ James R. Lloyd
                                                     JAMES R. LLOYD
